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                                       1   CARLYON CICA CHTD.
                                           CANDACE C. CARLYON, ESQ.
                                       2   Nevada Bar No. 2666
                                           TRACY M. O’STEEN, ESQ.
                                       3   Nevada Bar No. 10949
                                           265 E. Warm Springs Road, Suite 107
                                       4   Las Vegas, NV 89119
                                           Telephone:   (702) 685-4444
                                       5   Facsimile:   (725) 220-4360
                                           CCarlyon@CarlyonCica.com
                                       6   TOSteen@CarlyonCica.com
                                       7   [Proposed] Counsel for Debtor Athens Inc.
                                       8                           UNITED STATES BANKRUPTCY COURT
                                       9                                     DISTRICT OF NEVADA
265 E. Warm Springs Road, Suite 107




                                      10    In re                                           Case No. 23-11659-NMC
                                                                                            Chapter 11
     CARLYON CICA CHTD.




                                      11    ATHEN’S INC.,
       Las Vegas, NV 89119




                                                                                            NOTICE OF HEARING ON DEBTORS’
                                      12                        Debtor.                     MOTION FOR ORDER DIRECTING
                                                                                            JOINT ADMINISTRATION OF
                                      13                                                    CHAPTER 11 CASES
                                      14                                                    Hearing Date: June 13, 2023
                                                                                            Hearing Time: 9:30 a.m.
                                      15

                                      16   TO:      ALL PARTIES IN INTEREST
                                      17            NOTICE IS HEREBY GIVEN that on May 1, 2023, Athen’s Inc. (the “Debtor”) filed
                                      18   Debtors’ Motion for Order Directing Joint Administration of Chapter 11 Cases [ECF No. 14]
                                      19   (the “Motion”). A copy of the Motion may be obtained from Debtor’s proposed counsel at the
                                      20   contact information appearing on the top left-hand corner of this page or may be viewed at the
                                      21   office of the bankruptcy clerk, 300 Las Vegas Blvd., 4th Floor, Las Vegas, NV 89101.
                                      22            The hearing on the Application will be held on the 13th day of June 2023, at 9:30 a.m.
                                      23   before a United States Bankruptcy Judge. The hearing may be held telephonically or via
                                      24   videoconferencing. The telephone conference line is (669) 254-5252, Meeting ID: 161 166 2815
                                      25   Passcode 115788#.
                                      26            PLEASE TAKE FURTHER NOTICE that any response to the Motion and the relief
                                      27   requested therein, must be filed and served no later than 14 days prior to the hearing pursuant
                                      28
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                                       1   to Local Rule 9014(d)(1) which provides:
                                       2        If you object to the relief requested, you must file a WRITTEN response to this
                                                pleading with the court. You must also serve your written response on the person who
                                       3        sent you this notice.
                                       4        If you do not file a written response with the court, or if you do not serve your written
                                                response on the person who sent you this notice, then:
                                       5
                                                       The court may refuse to allow you to speak at the scheduled hearing; and
                                       6               The court may rule against you without formally calling the matter at the
                                                        hearing.
                                       7

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                                       9           PLEASE TAKE FURTHER NOTICE that the hearing on the Objection may be
265 E. Warm Springs Road, Suite 107




                                      10   continued from time to time without further notice except for the announcement of any
     CARLYON CICA CHTD.




                                      11   adjourned dates and times at the above-noticed hearing or any adjournment thereof, and the
       Las Vegas, NV 89119




                                      12   court may approve modifications at the hearing or any continued hearing.
                                                  Respectfully submitted this 1st day of May 2023.
                                      13

                                      14
                                                                                           CARLYON CICA CHTD.
                                      15
                                                                                           /s/ Tracy M. O’Steen
                                      16                                                   CANDACE C. CARLYON, ESQ.
                                                                                           Nevada Bar No, 2666
                                      17                                                   TRACY M. O’STEEN, ESQ.
                                                                                           Nevada Bar No. 10949
                                      18                                                   265 E. Warm Springs Road, Suite 107
                                                                                           Las Vegas, Nevada 89119
                                      19                                                   [Proposed] Counsel for Debtor

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                                                                          CERTIFICATE OF SERVICE
                                       1
                                              I am an employee of Carlyon Cica Chtd. On the date of filing of the foregoing papers with
                                       2
                                           the Clerk of Court I caused a true and correct copy to be served in the following manner:
                                       3
                                              ☒ ELECTRONIC SERVICE: Pursuant to LR 2002 of the United States Bankruptcy Court
                                       4
                                              for the District of Nevada, the above-referenced document was electronically filed and
                                       5
                                              served on all parties and attorneys who are filing users through the Notice of Electronic
                                       6
                                              Filing automatically generated by the Court.
                                       7
                                              ☐ UNITED STATES MAIL: By depositing a true and correct copy of the above-
                                       8
                                              referenced document into the United States Mail with prepaid first-class postage, addressed
                                       9
                                              to the parties at their last-known mailing address(es):
265 E. Warm Springs Road, Suite 107




                                      10
                                              ☐ OVERNIGHT COURIER: By depositing a true and correct copy of the above-
     CARLYON CICA CHTD.




                                      11
       Las Vegas, NV 89119




                                              referenced document for overnight delivery via a nationally recognized courier, addressed
                                      12
                                              to the parties listed below which was incorporated by reference and made final in the w at
                                      13
                                              their last-known mailing address.
                                      14
                                              ☐ FACSIMILE: By sending the above-referenced document via facsimile to those
                                      15
                                              persons listed on the attached service list at the facsimile numbers set forth thereon.
                                      16

                                      17      I declare under penalty of perjury that the foregoing is true and correct.
                                      18

                                      19                                                        /s/ Nancy Arceneaux_____________
                                                                                                An employee of Carlyon Cica Chtd.
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